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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,            CR. NO. 2:95-235-03 WBS

13                 Plaintiff,
                                          MEMORANDUM AND ORDER RE: MOTION
14        v.                              TO REDUCE SENTENCE PURSUANT TO
15   PABLO CASTRON MARRON,                18 U.S.C. § 3582(c)(2)

16                 Defendant.

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20              Before the court is defendant Pablo Castro Marron’s

21   Amended Motion to Reduce Sentence Pursuant to 18 U.S.C. §

22   3582(c)(2).   (Docket No. 352.)

23   I.   Factual and Procedural History

24              On June 11, 2012, defendant pled guilty pursuant to a

25   plea agreement to one count of conspiracy to manufacture

26   methamphetamine in violation of 21 U.S.C. §§ 846 and 841(a)(1).

27   (Sentencing Tr. (Docket No. 351); Plea Agreement (Docket No.

28   336.))    In the plea agreement, the parties agreed to a 120-month
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1    sentence and agreed that defendant’s offense carried a 10-year

2    mandatory minimum sentence.1     The parties also agreed to the

3    Factual Basis attached to the plea agreement, which stated, among

4    other things, that defendant intended to manufacture more than

5    100 grams of actual methamphetamine or more than one kilogram of

6    a mixture containing methamphetamine.        (Plea Agreement Ex. A.)

7              Under the then-existing Sentencing Guidelines, the

8    Presentence Report determined that the base offense level was 32

9    for an offense involving at least 50 grams but less than 150

10   grams of actual methamphetamine.        Subtracting three levels for

11   acceptance of responsibility and timely notification of his

12   intent to plead guilty, defendant’s total offense level was 29.

13   Defendant also had three criminal history points due to a

14   disorderly conduct conviction and his commission of the instant

15   offense while on probation, resulting in a criminal history

16   category of II.     The PSR suggested that this category overstated

17   defendant’s criminal history but recommended no downward

18   departure because the low end of the Guidelines range was the

19   mandatory minimum sentence.      Based on the total offense level,

20   the criminal history category, and the statutory minimum
21   sentence, defendant’s Guidelines range sentence was 120 to 121

22   months, though the parties later agreed that absent the mandatory

23   minimum sentence, the Guidelines range would have been 97 to 121

24   months.   (PSR 9-12, 15; Sentencing Tr. 4-5.)

25             Judge Edward J. Garcia held a sentencing hearing on

26   October 26, 2012.    At the hearing, Judge Garcia expressed his
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               See 21 U.S.C. § 841(b)(1)(A)(viii).
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1    concern that if defendant had received a criminal history

2    category of I and had been debriefed, he would have been eligible

3    for a “safety valve” exception to the mandatory minimum

4    sentence.2    However, Judge Garcia noted that defendant had not in

5    fact been debriefed, and the government argued that debriefing

6    was not an issue because (1) the defendant had never requested to

7    be debriefed, and (2) the parties had agreed to the ten-year

8    mandatory minimum sentence in the plea agreement, though the

9    government could have sought a longer sentence due to defendant’s

10   alleged obstruction of justice based on his lengthy fugitive

11   status after being charged.      (Sentencing Tr. 6-9.)

12                Judge Garcia then explained that he was willing to put

13   over sentencing should defendant wish to be debriefed.            In

14   response, the government explained that it would not agree to a

15   lower sentence and would potentially withdraw from the plea

16   agreement if defendant was allowed to be debriefed.          The

17   defendant ultimately decided that it would be better to move

18   forward with the plea agreement than go to trial or plead guilty

19   without the plea agreement.      Judge Garcia then accepted the plea

20   agreement and imposed a 120-month sentence.        (Sentencing Tr. 10-
21   13.)

22   II.    Discussion

23                Defendant now moves to reduce his sentence based on

24   Amendment 782 to the United States Sentencing Guidelines

25   (“U.S.S.G.”).       The crux of his argument is that his Guidelines

26   range was lowered by Amendment 782 to 78-97 months, and that the
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                  See U.S.S.G. § 5C1.2(a)(5).
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1    mandatory minimum sentence of ten years does not apply because

2    Judge Garcia “effectively determined” that he was eligible for

3    the safety valve exception to the mandatory minimum sentence.

4                Amendment 782 retroactively modifies the Drug Quantity

5    Table in § 2D1.1 and reduces by two points the base offense level

6    for most federal drug offenses.      See U.S.S.G. supp. to app. C,

7    amend. 782.    Section 3582(c)(2) provides that, when a defendant

8    is sentenced “based on a sentencing range that has subsequently

9    been lowered by the Sentencing Commission . . . the court may

10   reduce the term of imprisonment . . . if such a reduction is

11   consistent with applicable policy statements issued by the

12   Sentencing Commission.”     18 U.S.C. § 3582(c)(2).      To grant a

13   motion under 18 U.S.C. § 3582(c)(2), the court must determine

14   that a reduction is consistent with the policy statement

15   promulgated in § 1B1.10.     Dillon v. United States, 560 U.S. 817,

16   826-27 (2010).    Section 1B1.10 provides that a reduction in the

17   defendant’s term of imprisonment is authorized under 18 U.S.C.

18   § 3582(c)(2) only if “the guideline range applicable to that

19   defendant has subsequently been lowered as a result of an

20   amendment to the Guidelines Manual.”       U.S.S.G. § 1B1.10(a).
21   Moreover, “[a] retroactive amendment to the Guidelines cannot

22   reduce a sentence below the statutory minimum term.”          United

23   States v. Sykes, 658 F.3d 1140, 1146 (9th Cir. 2011) (citations

24   omitted).

25               As an initial matter, the court rejects defendant’s

26   contention that Judge Garcia “effectively determined” that
27   defendant was eligible for safety valve relief from the mandatory

28   minimum sentence.    Rather, Judge Garcia merely explained that if
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1    he determined that a Criminal History Category of I applied and

2    “if [defendant] had complied with the debriefing requirement,”

3    defendant “would become eligible for a safety valve

4    consideration.”    (Sentencing Tr. 7.)     However, defendant did not

5    debrief before sentencing, and he declined Judge Garcia’s

6    invitation to put over sentencing to allow him to do so, despite

7    Judge Garcia’s comments regarding the benefit of debriefing.

8    Instead, he choose to move forward with sentencing pursuant to

9    the plea agreement, based on the determination that it would be

10   better to proceed under the plea agreement than risk the

11   government’s withdrawal from the agreement.        (Sentencing Tr. 11-

12   12.)   Thus, defendant was and is not eligible for safety valve

13   relief from the mandatory minimum sentence.

14             Whether defendant’s 120 month sentence was based on the

15   Guidelines range, the mandatory minimum, or the parties’ plea

16   agreement, it is undisputed that defendant’s purported amended

17   Guidelines range of 78-97 months is below the ten-year statutory

18   mandatory minimum.    “It is axiomatic that a statutory minimum

19   sentence is mandatory” and, as discussed above, “[a] retroactive

20   amendment to the Guidelines cannot reduce a sentence below the
21   statutory minimum term.”     Sykes, 658 F.3d at 1146; see also

22   United States v. Mullanix, 99 F.3d 323, 324 (9th Cir. 1996)

23   (holding that the mandatory minimum “was not affected by the

24   change in the [drug] equivalency tables” and, thus, “the district

25   court had no authority to reduce [the defendant’s] sentence under

26   § 3582(c)(2)”).    Here, because the statutory mandatory minimum
27   sentence applies, the court may not reduce defendant’s sentence

28   below that minimum of 120 months which defendant already
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1    received.   Accordingly, the court lacks jurisdiction to grant the

2    requested sentence reduction and must deny defendant’s motion.

3                IT IS THEREFORE ORDERED that defendant’s motion to

4    reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) (Docket

5    No. 352), be, and the same hereby is, DENIED.

6    Dated:   November 17, 2017

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